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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

MARK E. FELGER (MF9985)
JERROLD N. POSLUSNY, JR. (JP7140)
COZEN O’CONNOR
LibertyView, Suite 300
457 Haddonfield Road
Cherry Hill, NJ 08002
(856) 910-5000
Proposed Attorneys for the Debtors

In re:                                                   Case No. 08-

SHAPES/ARCH HOLDINGS L.L.C., et al.,                     Judge:

                 Debtors.                                Chapter: 11




                Recommended Local Form:             Followed           Modified


                 APPLICATION FOR RETENTION OF COZEN O’CONNOR
                        AS ATTORNEYS FOR THE DEBTORS


         1.      The applicants, Shapes/Arch Holdings L.L.C. (“Shapes/Arch”), Shapes L.L.C.

(“Shapes”), Delair L.L.C. (“Delair”), Accu-Weld L.L.C. (“Accu-Weld”) and Ultra L.L.C.

(“Ultra”, and with Shapes/Arch, Shapes, Delair and Accu-Weld, collectively, the “Debtors”), by

and through Steven Grabell, CEO of Shapes/Arch and Shapes, are the

          Trustee:                Chap. 7           Chap. 11            Chap. 13

          Debtors:                Chap. 11          Chap. 13

          Official Committee of

         2.      The Applicants seek to retain the following professional, Cozen O’Connor

(“CO”), to serve as:

          Attorney for:           Trustee           Debtors-in-Possession



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                                   Official Committee of

         Accountant for:          Trustee             Debtor-in-Possession

                                   Official Committee of

         Other Professional:

                                   Realtor     Appraiser             Special Counsel

                                   Auctioneer  Other (specify):

        3.       The employment of the professional is necessary because: On this date, the

Debtors filed their petitions for relief under Chapter 11, Title 11 of the United States Code. The

Debtors believe that the retention of CO, as attorneys for the Debtors, is necessary to enable the

Debtors to execute faithfully their duties and responsibilities in these cases.

        4.       The professional has been selected because: of CO’s familiarity with the Debtors’

businesses having represented the Debtors for many years; CO’s experience and knowledge in

the field of debtors’ and creditors’ rights and business reorganizations under Chapter 11 of the

Bankruptcy Code; and its expertise, experience, and knowledge in dealing with issues

confronting businesses in the Debtors’ industry; and particularly because of its general

familiarity with the practice and procedure before the Courts in the District of New Jersey.

Further, your applicants believe that said firm is well qualified to represent the Debtors as

attorneys in these proceedings.

        5.       The professional services to be rendered are as follows:

                 (a)     Advising the Debtors with respect to their powers and duties as a debtors-
                         in-possession;

                 (b)     Preparing applications, motions, pleadings, briefs, memoranda and other
                         documents and reports as may be required;

                 (c)     Representing the Debtors in Court;

                 (d)     Representing the Debtors in its dealings with creditors;


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                 (e)     Representing the Debtors in negotiating, drafting, confirming and
                         consummating a plan of reorganization;

                 (f)     Representing the Debtors in the investigation of potential causes of action
                         under the Bankruptcy Code; and

                 (g)     Performing such other services as may be necessary or appropriate.

        6.       The proposed arrangement for compensation is as follows: Subject to Court

approval, CO will seek compensation based upon its customary hourly rates in effect from time

to time as set forth below, plus reimbursement of actual, necessary expenses incurred by CO.

CO has received a retainer of $180,227.67 on account of the services which it anticipates

rendering to the Debtors pursuant to this engagement. The retainer is being held as an

“evergreen” retainer to be applied against amounts due under CO’s final fee application. The

attorneys and assistants who will be responsible for the representation of the Debtors and their

current hourly rates are as follows:

                 Arthur J. Abramowitz (member)                 $580 per hour
                 Mark E. Felger (member)                       $525 per hour
                 Jerrold N. Poslusny, Jr. (member)             $375 per hour
                 Debbie Reyes (paralegal)                      $195 per hour
                 Maryann Millis (paralegal)                    $185 per hour
These hourly rates are CO’s hourly rates for work of this nature and are subject to periodic

adjustments to reflect economic and other conditions. Other attorneys employed by CO may,

from time to time, serve the Debtors in connection with this case.

        7.       To the best of the applicants’ knowledge, the professional's connection with the

debtors, creditors, any other party in interest, their respective attorneys and accountants, the

United States trustee, or any person employed in the office of the United States trustee, is as

follows:

         None




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